     Case 5:21-cr-00021-TKW-MJF      Document 143     Filed 07/13/22     Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                     Case No. 5:21cr21/TKW

TONY HUFF
______________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, TONY HUFF, to Count Eight of the Indictment is hereby ACCEPTED.

All parties shall appear before this Court for sentencing as directed.

       DONE and ORDERED this 13th day of July, 2022.




                                       __________________________________
                                       T. KENT WETHERELL, II
                                       UNITED STATES DISTRICT JUDGE
